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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


   QORVO, INC.,                                  )
                                                 )
             Plaintiff,                          )
                                                 )        Case No. 1:21-cv-01417-JPM
   v.                                            )
                                                 )
   AKOUSTIS TECHNOLOGIES, INC. and               )
   AKOUSTIS, INC.,                               )
                                                 )
             Defendants.                         )


    ORDER DENYING PLAINTIFF’S MOTION TO EXCLUDE OPINIONS OF
  CAROLYN IRWIN AND DEFENDANTS’ MOTION TO EXCLUDE OPINIONS OF
                        MELISSA BENNIS



        Before the Court are Plaintiff’s Motion to Exclude Expert Testimony of Ms. Carolyn

 Irwin; Defendants’ Reply; and Plaintiff’s Response. (ECF Nos. 453-54, 479, 492.) Also before

 the Court are Defendants’ Motion to Exclude Expert Testimony of Melissa Bennis, Plaintiff’s

 Reply, and Defendants’ Response. (ECF Nos. 456-57, 482, 491.) Parties appeared for oral

 argument on these issues on April 2, 2024, and filed supplemental letters on the exclusion of

 Ms. Bennis. (ECF Nos. 522-23, 525.) For the reasons discussed below, Plaintiff’s Motion to

 Exclude the Testimony of Carolyn Irwin is DENIED. Defendants’ Motion to Exclude the

 Testimony of Melissa Bennis on “Head-Start” Damages is DENIED. Defendant’s Motion to

 Exclude the Testimony of Melissa Bennis on poaching damages will be addressed by separate

 order, and Parties are ORDERED to submit supplemental briefing as detailed below.

        I.        BACKGROUND
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        This is a civil action for alleged patent infringement, false advertising, unfair and

 deceptive trade practices, and other related claims. Qorvo filed a complaint in this action on

 October 4, 2021. (ECF No. 1.) A First Amended Complaint (“FAC”) and Second Amended

 Complaint (“SAC”) were filed on February 18, 2022 and February 8, 2023 respectively. (ECF

 Nos. 28, 125.) Akoustis filed their Answer to the SAC on March 15, 2023. (ECF No. 158.)

        Qorvo alleges patent infringement of one or more claims of U.S. Patent No 7,522,018

 (the “’018 Patent’”) and U.S. Patent No. 9,735,755 (the “’755 Patent”) by Akoustis. (ECF No.

 125.) Qorvo also alleges that Akoustis engaged in unfair and deceptive trade practices under

 N.C. Gen. Stat. § 75-1, misappropriation of trade secret under 18 U.S.C. § 1832 and N.C. Gen.

 Stat. § 66-152, violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”)

 under 18 U.S.C. § 1961, and civil conspiracy under state law. (Id.) Qorvo also brings false

 advertising claims under 15 U.S.C. § 1125(a) and false patent marking claims under 35 U.S.C.

 § 292 relating to U.S. Patent No. 10,256,786 (the “’786 Patent”). (Id.) Qorvo’s RICO and false

 patent marking claims were dismissed at the summary judgment stage. (ECF No. 545.)

        II.     LEGAL STANDARD

        In general, witnesses may only testify in the form of an opinion if the opinion is

 “rationally based on the witness’s perception; [h]elpful to clearly understanding the witness’s

 testimony or to determining a fact in issue; and [i]s not based on scientific, technical or other

 specialized knowledge within the scope of Federal Rule of Evidence 702.” FED. R. EVID. 701.

 Federal Rule of Evidence 702 provides that a “witness who is qualified as an expert by

 knowledge, skill, experience, training, or education may testify in the form of an opinion or

 otherwise[,]” so long as the proponent of that testimony demonstrates to the court that it is more

 likely than not that “the expert’s scientific, technical, or other specialized knowledge will help



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 the trier of fact to understand the evidence or to determine a fact in issue; []the testimony is

 based on sufficient facts or data; []the testimony is the product of reliable principles and

 methods; and []the expert’s opinion reflects a reliable application of the principles and methods

 to the facts of the case.” FED. R. EVID. 702.

         The trial court “ensur[es] that an expert’s testimony both rests on a reliable foundation

 and is relevant to the task at hand.” Bayer Healthcare LLC v. Baltaxa Inc., Case No. 16-cv-

 1122, 2019 WL 330149, *1 (D. Del. Jan. 25, 2019) (quoting Daubert v. Merrell Dow Pharms.,

 Inc., 509 U.S. 597, 594 (1993)). The Third Circuit has framed Rule 702 as “embod[ying] a

 trilogy of restrictions on expert testimony: qualification, reliability, and fit.” Schneider v. Fried,

 320 F.3d 396, 404 (3d Cir. 2003) (citing In re Paoli Railroad Yard PCB Litigation, 35 F.3d 717,

 749 (3d Cir. 1994) (citing Daubert, 509 U.S. at 579)). “[A] broad range of knowledge, skills,

 and training qualify an expert[,]” so long as the witness possesses specialized expertise. (Id.)

 For testimony to be reliable, it “must be based on the ‘methods and procedures of science’ rather

 than on ‘subjective belief or unsupported speculation’; the expert must have ‘good grounds for

 his or her belief.” Paoli, 35 F.3d at 742. When determining whether proposed expert testimony

 is reliable, a district court may consider:

         (1) Whether a method consists of a testable hypothesis; (2) whether the method has been
         subject to peer review; (3) the known or potential rate of error; (4) the existence and
         maintenance of standards controlling the technique’s operation; (5) whether the method
         is generally accepted; (6) the relationship of the technique to methods which have been
         established to be reliable; (7) the qualifications of the expert witness testifying based on
         the methodology; and (8) the non-judicial uses.

 Schneider, 320 F.3d at 405 (citing Paoli, 35 F.3d at 742 n.8 (internal citations omitted)). “Fit”

 determines whether “the proffered connection between the scientific research or test result to

 be presented and particular disputed factual issues in the case” is sufficiently strong. Paoli, 35

 F.3d at 743. “Fit” requires more than bare logical relevance. Id. at 386. Rather, “fit asks


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 whether the proffered testimony is sufficiently helpful.” Insight Equity v. Transitions Optical,

 Inc., 252 F. Supp. 3d 382, 386 (D. Del. 2017).

        III.     ANALYSIS

                 a. Melissa Bennis

                         i. Head-Start Damages

        Defendants argue that Melissa Bennis’ opinions on “head-start” damages are unreliable

 because “revenue is not a cognizable basis for calculating unjust enrichment except as part of

 the calculation of a defendant’s ‘ill-gotten’ profits[.]”     (ECF No. 457 at PageID 20009.)

 Defendants also argue that even if revenue were an adequate basis, Ms. Bennis “errs by

 including in her revenue calculation all of Akoustis’ historical revenue, including revenue

 unrelated to any alleged use of Qorvo’s purported trade secrets.” (Id. at PageID 20010.)

        Plaintiffs counter that Ms. Bennis’ “head-start” damages methodology is well-

 established, and that the use of revenue as a substitute for value is necessitated because Akoustis

 did not earn a profit during the time period in question. (ECF No. 482.) Plaintiffs also argue

 that the distinction between the “head-start” methodology Defendants use to describe Ms.

 Bennis’ work and the time value methodology actually used by Ms. Bennis is significant, and

 point to use of time value methodologies in non-trade-secret cases. (ECF No. 482 (citing U.S.

 v. Allegheny Ludlum Corp., 366 F.3d 164, 178 (3d Cir. 2004); U.S. v. Torlai, 728 F.3d 932,

 945 n.11 (9th Cir. 2013); Raithborne Land Co. v. Ascent Energy, Inc., 610 F.3d 249, 257 (5th

 Cir. 2010)).)

        One of the forms of damages provided under the Defend Trade Secrets Act are damages

 for “any unjust enrichment caused by the misappropriation of the trade secret that is not

 addressed in computing damages for actual loss.” 18 U.S.C. § 1836(b)(3)(B). North Carolina’s



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 trade secret law provides the same. N.C. Gen. Stat. § 66-154(b). As Akoustis acknowleges,

 unjust enrichment damages based on a head start theory can be based “either in a defendant’s

 profits or its incremental increases in business value realized from alleged wrongdoing.” (ECF

 No. 491.); Sabre GLBL, Inc. v. Shan, 779 F. App’x 843 (3d Cir. 2019).

         While Ms. Bennis’ method lacks a testable hypothesis and Plaintiffs have not shown it

 is subject to peer review, it is well-based in accepted techniques. See Schneider, 320 F.3d at

 405 (citing Paoli, 35 F.3d at 742 n.8 (internal citations omitted)). Head-start damages based on

 profits are accepted as a reliable methodology for DTSA damages. See Sabre GLBL, Inc. v.

 Shan, 779 F. App’x 843 (3d Cir. 2019). The only distinction between Ms. Bennis’ technique

 and that accepted by other courts is the substitution of revenue as an input for profit or

 incremental increase in business value. Ms. Bennis’ qualifications to opine on this technique

 are undisputed: Ms. Bennis has an M.B.A. in accounting from Northwestern University’s

 Kellogg School of Management, is a licensed CPA, and is a leader in the Illinois CPA Society.

 (ECF No. 458.) The question is, then, whether there is a known or potential rate of error for the

 use of revenue to estimate valuation, whether there are standards controlling this substitution’s

 operation, whether the method is generally accepted, and any non-judicial uses. See Schneider,

 320 F.3d at 405 (citing Paoli, 35 F.3d at 742 n.8 (internal citations omitted)). Here, the Sedona

 Conference text cited by Defendants as a source of generally accepted knowledge in the field

 states that “[i]n the case of a start-up . . . the company’s valuation is closely tied to the value of

 its trade secret technology, and the company’s investment value may be tantamount to or at

 least closely related to the investment value of the trade secret.” (ECF No. 458.) This source

 therefore acknowledges Plaintiff’s argument that valuation of a start-up can be difficult to

 quantify, though does not establish revenue as an appropriate input for valuation. Outside of



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 judicial use, the times-revenue formula is well-trodden ground for comparing valuation of pre-

 profit start-ups in the same field, but is not generally accepted as an appropriate way to establish

 objective valuation without the use of a multiplier based on industry. Daubert, however,

 rejected general acceptance as the sole basis to assess a methodology, replacing it with a variety

 of factors the court may consider. Schneider, 320 F.3d at 405 (citing Paoli, 35 F.3d at 742 n.8

 (internal citations omitted)). Here, the qualifications of the expert, the non-judicial use of

 revenue to establish valuation, and the close relationship of Ms. Bennis’ methodology to a

 methodology established to be reliable (the calculation of head-start damages using time value

 using profit or valuation as an input) 1 all make it more likely than not that Ms. Bennis’

 methodology is reliable under the meaning of Federal Rule of Evidence 702.

          Defendants’ argument that Ms. Bennis errs by including in her revenue calculation all

 of Akoustis’ historical revenue raises a question for the jury, not a basis for exclusion under

 Rule 702. (See ECF No. 485.) In forming her opinion that all revenue should be included in

 the damages calculation, Ms. Bennis incorporates the opinion of Dr. Shanfield in finding that

 “the trade secrets Akoustis [are] alleged to have misappropriated related to virtually every

 aspect of its business and ability to get to market in the timeframe it did [including] its ability

 to earn grant money, fabricate products, provide engineering services, and manufacture

 products[,]” and that the Akoustis products were brought to market 55 months earlier than they

 would have without the alleged trade secrets. (ECF No. 457 at PageID 20011.) This opinion

 is not directly expressed in Dr. Shanfield’s report, but is consistent with his report and Plaintiff’s

 theory of the case. Ms. Bennis plainly explains her assumption: that all of Akoustis’ historical



 1
   Indeed, Ms. Bennis’ methodology is so close to an established one that it could be characterized as a “flaw in
 the application” of a reliable methodology. See United States v. Gipson, 383 F.3d 689, 696-97 (8th Cir. 2004);
 United States v. Shea, 211 F.3d 658, 668 (1st Cir. 2000).

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 revenue depended on the theft of Qorvo’s trade secrets. Given the scope of the trade secret

 misappropriation allegations at issue in this case, this assumption is not unreasonable, but if not

 borne out in proof, the jury will be able to dismiss Ms. Bennis’ conclusions. As a result,

 concerns on which elements of revenue are properly included in Ms. Bennis’ calculation of

 head-start damages are more appropriately examined in cross-examination. See Intellectual

 Ventures I LLC v. Check Point Software Techs., Ltd., 215 F. Supp. 3d 314, 323-324 (D. Del.

 2014).

          Because Plaintiffs have shown by a preponderance of the evidence that Ms. Bennis’

 methodology is reliable under Federal Rule of Evidence 702, and because the assumption that

 all revenues are proper inputs is properly challenged on cross but not at the Daubert phase,

 Defendants’ Motion to Exclude Ms. Bennis’ head-start damages opinions is DENIED.

                        ii. Poaching

          Defendants argue that Ms. Bennis’ opinions on damages for employee poaching is also

 unreliable because Ms. Bennis claims to calculate actual damages Qorvo suffered in replacing

 employees lost to Akoustis’ “poaching[,]” but did not use Qorvo data on 1) whether employees

 were actually replaced and 2) the cost of replacement, instead relying on a report generated by

 a third-party assessing, in 2021, the replacement cost of employees in a company Akoustis was

 acquiring. (ECF No. 457 at PageID 20010.)

          The trial judge has “the task of ensuring that an expert’s testimony both rests on a

 reliable foundation and is relevant to the task at hand.” Daubert, 509 U.S. at 597. “Fit”

 determines whether “the proffered connection between the scientific research or test result to

 be presented and particular disputed factual issues in the case” is sufficiently strong. Paoli, 35

 F.3d at 743. Here, it is undisputed that Akoustis and Qorvo are companies of different sizes.



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 It is likewise undisputed that the alleged “poaching” behavior began before 2021. Despite this,

 Ms. Bennis uses a report which estimates the replacement cost of employees not at Qorvo in

 the years in question, but at a third-party company acquired by Akoustis. Ms. Bennis’ report

 does not analyze the reasons that this data would be relevant to determining the replacement

 costs of an employee at a much larger company over the course of the prior decade, nor does

 Exhibit 4, Schedule 2.1 of her report, which summarizes the allegedly “poached” employees,

 include date data. (See ECF No. 458.) Neither Ms. Bennis’ report nor Plaintiff’s brief provides

 argument as to why the use of data from a company of different size to assess the replacement

 cost of employees in the decade prior would be appropriate. Neither Ms. Bennis nor Plaintiffs

 have addressed why Qorvo’s own replacement data was not used. As such, Plaintiff cannot on

 the current record be said to have met their burden to show by a preponderance of the evidence

 that Ms. Bennis’ opinions are based on sufficient facts and data, or reliably applied to the facts

 of the case. Parties are therefore ORDERED to submit additional briefing of no more than five

 pages, no later than Thursday, May 2, 2024 at 11:00 a.m., on these issues.

                  b. Carolyn Irwin

         Plaintiff argues that Carlyn Irwin’s opinions on “avoided costs” are “not relevant . . .

 fail to apply accepted principles and methods for calculating [avoided costs] damages . . . .[and]

 cannot aid the jury in calculating Qorvo’s damages.” (ECF No. 452 at PageID 18861.)

 Plaintiff’s central argument is that “because the avoided cost methodology requires an

 assumption that trade secrets were stolen and because the inputs Ms. Irwin received from Drs.

 Darveaux and Lebby 2 assume no misappropriation of trade secrets occurred,” her testimony

 cannot be relevant or reliable. (ECF No. 452 at PageID 18865.) Plaintiff contends that “her


 2
  Irwin’s testimony primarily relies on the opinions of Dr. Darveaux. Those opinions which rely on excluded
 opinions of Dr. Lebby must also be excluded.

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 opinion fundamentally relies upon an assumption that Akoustis did not misappropriate any

 Qorvo trade secret.” (Id. at PageID 18867.) Plaintiff also argues that because Ms. Irwin

 admitted in her deposition that if the jury disagreed with Drs. Lebby’s and Darveaux’s opinions

 that certain trade secrets were capable of being assembled from public information her

 methodology would cease to be relevant, her methodology does not “fit” with the facts of the

 case.

          Defendants respond that Plaintiff’s arguments take too narrow a view of trade secret

 law. (ECF No. 485 at PageID 23394.) They state that the reports on which Ms. Irwin based

 her avoided costs figures included opinions “on the time and cost for Akoustis to extract

 Qorvo’s purported trade secrets from publicly available sources.” (ECF No. 485 at PageID

 23396.)     They further argue that Ms. Irwin’s methodology is not incompatible with an

 assumption of liability. (Id.)

          Damages experts in trade secret misappropriation cases must assume that the defendant

 is liable for misappropriation of a trade secret. See FieldTurf USA, Inc. v. Tencate Thiolon

 Middle East, LLC, No. 4:11-cv-50, 2023 WL 12290896 (N.D. Ga. Dec. 5, 2013). That Ms.

 Irwin did so is not disputed.           Instead, Defendants argue that “Ms. Irwin’s opinions are

 inconsistent with the assumption that misappropriation occurred.” (ECF No. 452 at PageID

 18868.) They are not. As Ms. Irwin summarized at her deposition, her calculations were not

 based on Drs. Lebby’s and Darveaux’s conclusions, but on the expert work they used to reach

 those conclusions. 3 (See ECF No. 485 at PageID 23399 (quoting ECF No. 455).) This work,



 3
   See ECF No. 455 Ex. F. at 59:18-60:5. (“[B]oth [D]octors Darveaux and Lebby have the opinions that they’re
 not trade secrets, but I’m assuming they are trade secrets. I’m not operating under an assumption that these are
 not trade secrets. I’m setting their opinions aside and then relying on their expert work identifying the
 information contained in the documents that were asserted as trade secrets, finding that information contained in
 the documents that were asserted as trade secrets, finding that information and the estimates for implementing
 the methodology that was contained in that information.”)

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 which examines the number of hours an engineer would need to assemble or discover a trade

 secret from publicly available data, is not incompatible with a finding of trade secret

 protection—“a combination of characteristics and components, each of which, by itself, is in

 the public domain” can be a protectable trade secret. Life Spine, Inc. v. Aegis Spine, Inc, 8

 F.4th 531, 540-41 (7th Cir. 2021). While the Third Circuit has recognized that “the DTSA . . .

 excludes reverse engineering from the type of conduct it defines as misappropriation[,]” their

 statement went to the definition of misappropriation, not the definition of trade secret. See

 Mallet & Co. Inc. v. Lacayo, 16 F.4th 364, 388, n.31 (3d Cir. 2021) (citations omitted).

        Dr. Darveaux’s opinion provides hours estimates for the time an engineer would need

 to discover an alleged trade secret based on publicly available information. That these hours

 estimates are relatively low does not suffice to render them an insufficient basis for Ms. Irwin’s

 opinions. A compilation, even a simple one that takes little time to assemble, can qualify for

 trade secret protection. Even if Drs. Lebby and Darveaux found that it would take no time for

 an engineer to assemble certain alleged trade secrets (i.e. that they were immediately publicly

 available without work compiling), the hours estimates provided for others would help the jury

 determine the “avoided costs” for assembling those trade secrets. Unlike Edwards Lifesciences

 Corp. v. Meril Life Sciences PVT. Ltd., 2021 WL 5407316, at *3 (N.D. Cal. Nov. 18, 2021),

 Ms. Irwin does not contradict her own opinions, but rather bases her opinions on facts developed

 by other experts that led them to other conclusions.

        Because Ms. Irwin’s use of Drs. Lebby’s and Darveaux’s data is not inconsistent with

 an assumption of trade secret liability, and will be helpful to the jury in understanding “avoided

 costs” for at least some of the alleged trade secrets, Plaintiff’s Motion is DENIED.

        IV.     CONCLUSION



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        For the reasons discussed above, Plaintiff’s Motion to Exclude Expert Opinions of

 Carolyn Irwin is DENIED. Defendants’ Motion to Exclude Expert Opinions of Melissa Bennis

 on “head-start” damages is DENIED. Parties are ORDERED to submit, no later than 11:00

 a.m. on May 2, 2024, additional briefing of no more than five pages on whether Ms. Bennis’

 poaching opinions are based on sufficient facts and data, or reliably applied to the facts of the

 case given the disparity in size and timeline between the KPMG report used and the company

 and times in question.

        IT IS SO ORDERED, this 30th day of April, 2024.

                                                         /s/ Jon P. McCalla
                                                       JON P. McCALLA
                                                       UNITED STATES DISTRICT JUDGE




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